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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                                       :
UNITED STATES OF AMERICA                               :
                                                       :
 v.                                                    :       Criminal Case No.
                                                       :
 DANIEL PAUL GRAY,                                         :    1:21-cr-00495-ABJ
                                           :
Defendant                                  :
                                           :
____________________________________________

         MOTION FOR STAY AWAITING APPEAL OF DISMISSAL
 OF CHARGES UNDER 18 U.S.C. § 1512(c)(2) AGAINST PARALLEL DEFENDANTS

       Defendant Daniel Paul Gray (“Gray”), through the undersigned counsel, John M. Pierce,

Esq., moves the Court to stay the case until decision on the Government’s appeal of the

applicability of 18 U.S.C. 1512(c)(2), which is currently scheduled for oral argument at 9:30 AM

on December 12, 2022.

       (Counsel for Gray has contacted opposing counsel AUSA Jacqueline Schesnol, who

indicates the United States opposes such a stay.)

       In three cases in this Court arising from events on or about January 6, 2021, motions to

dismiss were granted dismissing charges of violations under 18 U.S. C1512(c)(2). The

Government chose to appeal those dismissals. Judge Carl Nichols decision in United States v.

Garrett Miller, 1:21-CR-119 (CJN), ECF No. 72 (D.D.C. Mar. 7, 2022) is currently on appeal,

consolidated with United States v. Joseph W. Fischer and United States v. Edward Jacob Lang.

       Oral argument has been scheduled for 9:30 AM on December 12, 2022. See Exhibit 1,

attached. The Memorandum Opinion of Judge Nichols in USA v. Garrett Miller is meticulous

and persuasive. See Exhibit 2, attached. It should be emphasized that the consolidated appeals

of these three cases is at the Government’s initiative and decisions.


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       Of course, if the U.S. Court of Appeals upholds the dismissal of the trial court, any time

spent by this Court pursuing Count II of the First Superseding Indictment here in this case would

be a complete waste of the Court’s time. In the interests of judicial economy, the Court should

await the outcome of the appeal.

       Of the charges brought arising from events of January 6, 2021, the shortest statute of

limitations is five years. Thus, the Government had no reason to rush into prosecutions it was

not ready for, including with incomplete factual investigations. There is no reason now for an

unnecessary rush.

       During the prosecution case in chief of USA v. Stewart Rhodes, in this District Court,

Case No. 1:22-cr-00015, on October 19, 2022, the (then) U.S. House of Representatives

Parliamentarian Thomas Wickham testified that Speaker of the House Nancy Pelosi was whisked

away from the podium by security at 2:13 to 2:14 PM on January 6, 2021, leaving Rep.

McGovern to take over as Presiding Officer. Therefore, the cause of the recess of the Joint

Session of Congress existed as early as 2:13 PM, and actually 2:00 PM as we will see:

       In the U.S. Capitol Police timeline attached as Exhibit 1 to the Government’s Opposition

to Gray’s Notice of Alternative Perpetrator Offense, marked as CAPD_000003203, the Timeline

reveals that at “1400 hours” “Assistant COP [Chief of Police] Pittman orders lockdown of U.S.

Capitol Building.” Thus, we now know that the causation for the evacuation of the U.S. Capitol

existed as of 2:00 PM. Although the initial order was for a “lockdown,” this shows that the

cause of the recess of the Joint Session of Congress existed as early as 2:00 PM.

       The Government identifies Defendant Gray as arriving at the U.S. Capitol between 2:25

PM and 2:57 PM. Therefore, it would be scientifically impossible for Defendant Gray to cause

at 2:25 PM a result at 2:00 PM.




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       Since Gray was only in the Capitol building briefly, the U.S. Attorney’s Office’s latest

gambit is to shift the focus to a resumption of the proceeding after Gray had already left. But

this also fails. Both theories were never more than fanciful speculation.

       Other demonstrators – those who were true rioters and not the mere demonstrators –

remained after Gray left and many of them remained outside the building beyond the curfew at

dusk. Therefore, if the resumption of the Joint Session is the issue, others were in and around the

Capitol building and grounds long after Gray was gone.

       For the Government’s latest hypothesis (only a maybe) to be plausible, Gray would have

to have been the last person to leave the building. But he was not. There were hundreds of

others still in the building after Gray was long gone.

       But, worse, the “resumption” of an official proceeding theory takes us much farther away

from any legitimate use of 18 U.S.C. § 1512(c)(2). It is highly unlikely that such a hypothesis

would survive under the ruling of the U.S. Court of Appeals.

       In any event, the Court would be in a better position to evaluate the appropriateness of a

stay after the oral argument on December 12, 2022.




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I. CONCLUSION

       The Defendant requests this Court to grant a stay of the case until the decision in the U.S.

Court of Appeals on the applicability of 18 U.S.C. 1512(c)(2) or at least until oral argument

provides more clarity on December 12, 2022.



Dated: November 17, 2022             RESPECTFULLY SUBMITTED
                                     DANIEL PAUL GRAY, By Counsel




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                                CERTIFICATE OF SERVICE

        I hereby certify that on November 17, 2022, a true and accurate copy of the forgoing was
electronically filed and served through the ECF system of the U.S. District Court for the District
of Columbia.

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